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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §          CR. NO. 4:17-cr-00737-1
                                            §
KAAN SERCAN DAMLARKAYA                      §

           UNOPPOSED MOTION TO CONTINUE SENTENCING
             AND TO ENTER A NEW SCHEDULING ORDER

TO THE HONORABLE ANDREW S. HANEN, UNITED STATES DISTRICT
JUDGE FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION:

       NOW COMES, Defendant, KAAN SERCAN DAMLARKAYA, in the above-

captioned matter, by and through his undersigned counsel, respectfully moves this

Honorable Court to continue the sentencing and to enter a new scheduling order in his

case and for good cause would show as follows:

                                            I.

       Sentencing in this case is set for April 6, 2020.

                                           II.

       Counsel for Defendant requests a continuance for the following reasons:

       (1) Counsel needs to continue to meet with defendant in person prior to

sentencing and Counsel’s physical access to the Federal Detention Correction Facility

in Downton Houston is suspended for 30 days currently due to the Covid-19 virus.

       (2) Counsel needs more time to prepare for sentencing as we continue to gather
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mitigation material that can significantly impact the court’s decision as to the

appropriate sentence in this matter. Counsel is waiting on a report from a forensic

psychologist, and in the event the report would be made available as part of

Defendant’s sentencing, the Government may want to seek the Court’s approval for a

secondary evaluation.

      (3) Counsel has been preparing for numerous trial settings, sentencings and

hearings and needs additional time to finalizing the memorandum in this case.

Specifically, Counsel is set for trial on March 19, 2020 in Harris County, Texas: State

of Texas vs. Scott Geroux; Cause No. 1558519 (which is likely to be continued as jury

service is currently suspended due to the Covid-19 virus); counsel is also set for trial

on April 3, 2020 in Harris County, Texas: State of Texas vs. Geovanni Lemus-Ayala;

Cause No. 1596701, counsel is also set for trial on April 27, 2020 in Harris County,

Texas: State of Texas vs. Bao-Son Pham; Cause No’s: 1565256 and 1565265.

                                          III.

      Assistant United States Attorney’s Alamdar Hamdani and Arthur Jones are

unopposed to the continuance.

                                          IV.

      This motion for continuance is not made for purposes of delay, but that justice

may be done. For all the foregoing reasons, counsel for defendant requests a

continuance of the sentencing for at least ninety (90) days in this case.
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                               Respectfully submitted,




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                               Attorney for Defendant,
                               KAAN SERCAN DAMLARKAYA
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                        CERTIFICATE OF CONFERENCE

       On March 16, 2020, counsel for Defendant conferred with AUSA’s, Alamdar

Hamdani and Arthur Jones concerning their position on this Unopposed Motion to

Continue Sentencing. They are both unopposed.




                                       GARY TABAKMAN


                            CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all parties.




                                       GARY TABAKMAN
